                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:07cv326-02-C
                                  (3:04cr197-3-C)

CORY MITCHELL ALEXANDER,            )
                                    )
            Petitioner,             )
                                    )
            v.                      )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER is before this Court upon the petitioner’s Motion To Vacate, Set Aside

or Correct Sentence under 28 U.S.C. § 2255. (Doc. No. 1). For the reasons stated below, the

petitioner’s motion will be dismissed as time-barred.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       On July 28, 2004, the defendant and two other men were indicted for charges relating to

an armed jewelry store robbery. (Case No. 3:04cr197-3, Doc. No. 1). Specifically, the indictment

alleged a conspiracy to obstruct, delay and affect commerce by robbing a jewelry story, in

violation of 18 U.S.C. § 371 (Count One); Hobbs Act robbery, or aiding and abetting that

offense, in violation of 18 U.S.C. §§ 1951 and 2 (Count Two); and using, carrying, and

brandishing a firearm during and in relation to a crime of violence, or aiding and abetting that

offense, in violation of 18 U.S.C. §§ 924(c) and 2 (Count Three).

       On or about November 1, 2004, the petitioner entered into a written Plea Agreement with

the government involving guilty pleas to Counts Two and Three and dismissal of Count One.

(Case No. 3:04cr197-3, Doc. No. 14). On November 18, 2004, the petitioner appeared before a



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magistrate judge for a Plea and Rule 11 Hearing. After hearing the petitioner’s responses under

oath, the court determined that his pleas were knowingly and voluntarily entered. (Case No.

3:04cr197-3, Doc. No. 15).

       On May 25, 2006, the Court held the petitioner’s Sentencing Hearing. At the outset of

that hearing, the petitioner affirmed his responses to the magistrate judge that he was guilty of the

charges to which he had entered pleas. Based on the petitioner’s representations and the

stipulated offense conduct in the Presentence Report, the Court found that the petitioner’s guilty

pleas were knowingly and voluntarily made, and were supported by a factual basis.1

Accordingly, the Court accepted the guilty pleas. There were no objections from either party

regarding the calculation of the advisory guideline range. After hearing from the petitioner,

robbery victims, and counsel, the Court sentenced the petitioner within the advisory guideline

range to 105 months’ imprisonment on Count Two, and 84 months’ imprisonment consecutively

on Count Three. The Court’s Judgment imposing the sentence was entered on June 27, 2006.

(Case No. 3:04cr197-3, Doc. No. 67).

       The petitioner admits that he did not directly appeal either his convictions or sentences.

(Doc. No. 1: Motion at ¶ 8). Rather, on August 8, 2007,2 the petitioner filed the instant Motion



       1
          That offense conduct included the petitioner’s striking a store clerk in the face with his
fist, then pointing a handgun at her while tying her wrists. (PSR at ¶ 6). In its sentencing
argument, the government highlighted the fact that the petitioner personally brandished a firearm
during the robbery, which the petitioner did not dispute.
       2
          The petition was entered by the Clerk’s Office on August 13, 2007. However, the date
of delivery to prison authorities for mailing is considered the date of filing for incarcerated
litigants. Houston v. Lack, 487 U.S. 266 (1988). For purposes of this motion, the Court will give
the petitioner the benefit of the earliest possible date, that is the date he indicated that he signed
the motion, for considering the motion filed.

                                                  2


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to Vacate in which he raises seven claims for review. Specifically, he alleges that: (1) he actually

is innocent aiding and abetting the brandishing of a firearm; (2) the application of 18 U.S.C. § 2

was unreasonable in his case; (3) he was subjected to double jeopardy by virtue of his

convictions under §§ 1951 and 924(c); (4) the “Separation of Powers Doctrine” was violated by

the imposition of “cumulative and consecutive sentences;” (5) the Supremacy Clause was

violated when he was sentenced in accordance with a state law principle as opposed to federal

law; (6) he was received ineffective assistance of counsel when misled into believing that he had

to plead guilty to the gun under a state law; and (7) the Court violated the ruling from Bailey v.

United States, 516 U.S. 137 (1995) by imposing a sentence when he never actually possessed a

firearm during the predicate crime.

II.     ANALYSIS

        Rule 4(b) of the Rules Governing Section 2255 Proceedings, directs sentencing courts to

promptly to examine motions to vacate. When it plainly appears from the motion, any attached

exhibits, and the record of prior proceedings that the petitioner is not entitled to relief, the

reviewing court must dismiss the motion.3 Actions under 28 U.S.C. § 2255 are subject to a one-

year limitations period. The statute provides, in relevant part:

               A 1-year period of limitation shall apply to a motion under this section.
        The limitation period shall run from the latest of–

                  (1) the date on which the judgment of conviction becomes final;

                  (2) the date on which the impediment to making a motion created
                  by governmental action in violation of the Constitution or laws of
                  the United States is removed, if the movant was prevented from
                  making a motion by such governmental action;


        3
            If the motion is not dismissed, the court must order the government to file an answer.

                                                    3


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               (3) the date on which the right asserted was initially recognized by
               the Supreme Court and made retroactively applicable to cases on
               collateral review; or

               (4) the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise of due
               diligence.

28 U.S.C. § 2255. A district court may dismiss a motion sua sponte when it is not timely filed.

See e.g. United States v. Sosa, 364 F.3d 507, 510 (4th Cir. 2004) (dismissing appeal of sua

sponte dismissal of § 2255 motion filed after one-year limitations period).

       It appears that the petitioner recognized that his Motion to Vacate could be construed as

time-barred. Question 18 on his motion form provided notice of the limitations period and

required him to explain why his motion is not time-barred since his judgment of conviction

became final more than one year ago. (Doc. No. 1: Motion at ¶ 18). In response, he argues that,

pursuant to Clay v. United States, 537 U.S. 522 (2003), the limitations period did not begin until

90 days after his judgment was entered and finalized. Thus, he contends that he had until August

25, 2007, to file his motion.

       In Clay, the Supreme Court held that when a defendant files a direct appeal, but then does

not seek certiorari review, the judgment becomes final when the time expires for filing a petition

for certiorari contesting the appellate court’s determination. Id. at 532. However, this rule does

apply in the instant case because the petitioner did not file a direct appeal. Rather, as several

courts have decided, when a defendant does not file a direct appeal, the judgment becomes final

when the ten-day time period in Fed. R. App. P. 4(b) for filing such an appeal expires. United

States v. Wilson, 256 F.3d 217, 221 (4th Cir. 2001) (Michael, J. concurring) (citing Kapral v.

United States, 166 F.3d 565, 577 (3rd Cir. 1999)); See United States v. Michel-Galaviz, 163


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Fed. Appx. 743, 745 (10th Cir. 2006) (unpublished); Sanchez-Castellano v. United States, 358

F.3d 424, 428 (6th Cir. 2004); Maderos v. United States, 218 F.3d 1252, 1253 (11th Cir. 2000).

         Here, the Judgment was entered on June 27, 2006. (Case No. 3:04cr197-3, Doc. No. 67).

When the ten-day period for filing a direct appeal expired on July 12, 2006, without the

petitioner filing a notice of appeal, the Judgment became final. Accordingly, it plainly appears

from the motion, considered filed on August 8, 2007, that the petitioner is not entitled to relief

because it was filed after the one-year limitations period had expired.4

III.     CONCLUSION

         Motions to Vacate under 28 U.S.C. § 2255 must be brought within the limitation period

prescribed by that statute. Here, the petitioner failed to meet that requirement, and failed to

establish any other basis for construing his motion as timely filed.

         IT IS, THEREFORE, ORDERED that the petitioner’s Motion to Vacate (Doc. No. 1)

is DISMISSED.
                                                  Signed: August 22, 2007




         4
         The petitioner does not allege, nor does the Court’s review of the record reveal, any basis
to invoke equitable tolling on the basis of a “rare instance[]” which would make it
unconscionable for this Court to enforce the limitation period against him and gross injustice
would result. Rouse v. Lee, 339 F.3d 238, 246 (4th Cir. 2003) (en banc); Sosa, 364 F.3d at 511-
13 (petitioner’s misunderstanding about limitations period insufficient).

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